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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814

5    Attorney for Defendant
     JORGE LUIS SANCHEZ
6
7
8                            IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                       )   NO. 2:13-CR-00286 LKK
                                                     )
12                         Plaintiff,                )   STIPULATION AND ORDER
                                                     )   TO VACATE STATUS CONFERENCE AND
13          v.                                       )   SET FOR A CHANGE OF PLEA
                                                     )
14   JORGE SANCHEZ,                                  )   DATE:          December 17, 2013
                                                     )   TIME:          9:15 am
15                         Defendant.                )   JUDGE:         Hon. Lawrence K. Karlton
                                                     )
16                                                   )

17
            IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, TODD PICKLES, Assistant United States Attorney, attorney for Plaintiff,
19
     and BENJAMIN GALLOWAY, attorney for defendant JORGE SANCHEZ that the status
20
     conference hearing date of December 10, 2013 be vacated, and the matter be set for a change of
21
     plea on December 17, 2013 at 9:15 a.m.
22
            The reason for the continuance is to allow defense counsel additional time to negotiate a
23
     resolution to this matter. The parties find that the ends of justice to be served by granting a
24
     continuance outweigh the best interests of the public and the defendant in a speedy trial.
25
            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
26
     should be excluded from the date of signing of this order through and including December 10,
27
     2013 pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local
28
     Code T4 based upon continuity of counsel and defense preparation.
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1    Dated: December 2, 2013                              Respectfully submitted,
2                                                         HEATHER E. WILLIAMS
                                                          Federal Public Defender
3
                                                          /s/ Benjamin Galloway
4                                                         BENJAMIN GALLOWAY
                                                          Assistant Federal Defender
5                                                         Attorney for Defendant
                                                          JORGE SANCHEZ
6
7    Dated: December 2, 2013                              BENJAMIN WAGNER
                                                          United States Attorney
8
                                                          /s/ Todd Pickles
9                                                         TODD PICKLES
                                                          Assistant U.S. Attorney
10                                                        Attorney for Plaintiff
11                                                 ORDER
12           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
13   December 10, 2013, status conference hearing be vacated and a change of plea hearing be set for
14   December 17, 2013, at 9:15 a.m. Based on the representation of defense counsel and good cause
15   appearing there from, the Court hereby finds that the failure to grant a continuance in this case
16   would deny defense counsel reasonable time necessary for effective preparation, taking into
17   account the exercise of due diligence. The Court finds that the ends of justice to be served by
18   granting a continuance outweigh the best interests of the public and the defendant in a speedy
19   trial. It is ordered that time up to and including December 17, 2013 shall be excluded from
20   computation of time within which the trial of this matter must be commenced under the Speedy
21   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
22   defense counsel reasonable time to prepare.
23   Dated: December 2, 2013
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     !Unexpected
      United States v.End  of FormulaUnited
                       Sanchez                      -2-
      Stipulation and Order
